                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION
                                    7:23-CV-897


 In re                                                  )
 Camp Lejeune Water Litigation                          )
                                                        )                        ORDER
 This document applies to:                              )
 ALL CASES                                              )


        In order to protect the integrity of the settlement negotiations facilitated by the Settlement

Masters appointed in this litigation (see D.E. 251 ), the regular status conferences in this litigation

(see Case Management Ord. ("CMO") 2, D.E. 23 at 4-5 § V), including specifically the requirement

that at such conferences the parties be prepared to provide an update on individual and global

settlement efforts (D.E. 27 at 1 ,i e), shall be subject to the restrictions on disclosure of Confidential

Settlement Information set out in CMO 14 (D.E. 251 at 3-4 § III). 1 The parties shall therefore not

present Confidential Settlement Information at the status conferences. The written joint status reports

filed before regular status conferences (see CMO 2 at 4-5 § V) shall also be subject to the restrictions

on disclosure of Confidential Settlement Information in CMO 14 and shall therefore also not contain

Confidential Settlement Information.

        The restrictions on Confidential Settlement Information do not apply to statistical information

on settlements reached by the government and settlement offers made by it on its own initiative

without involvement of the Special Masters (see , e.g., D.E. 164 § 5 at 4-5). Nothing in this order

shall be deemed to restrict the disclosure of Confidential Settlement Information and other




1 CMO 14 provides in relevant part that Confidential Settlement Information consists of "the contents of any written

settlement statements or other settlement-related communications, and any occurrences, positions taken, or views
expressed in connection with any settlement conference or discussion" and that Confidential Settlement Information
"shall not be . .. [d]isclosed to the Court." CMO 14, D.E. 251 at 3 § ITT.




           Case 7:23-cv-00897-RJ Document 264 Filed 07/29/24 Page 1 of 2
information to the undersigned as Settlement Liaison, who is not encompassed in the term "Court."

See CMO 14 at 2.

       SO ORDERED, this 29th day of July 2024.




                                                2

          Case 7:23-cv-00897-RJ Document 264 Filed 07/29/24 Page 2 of 2
